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                                                                             cœ M sOFFICE U,s.DjST.O URT
                                                                                   ATABfNGDON,VA
                                                                                          FILED
                                          IN TH E
                               UM TED STATES DISTRICT COURT                           MAq 22 2012
                                         FO R THE                                  JULIA C, (J    ,GLERK
                               W ESTERN DISTRICT OF VIRGW IA                      BY:      .
                                                                                       D U
                                  BIG STONE GAP DIVISION
                                    M ARCH 2012 SESSION



UN ITED STA TES OF A M ER ICA                  )
                                               )       criminalNo.       .'/4 -d# - 0ô2
                                               )
                                               )       Allin violation of:
A NTON IO JO HN SON                            )
                                               )              Title 18,U.S.C.j7
                                               )              Title 18,U.S.C.j1111

                                        IND ICTM EN T

                                            C OU N T O N E

                                (FirstDegreePre.M editatedMurder)
       TheGrandJurycharges:

            That on or about January 21,2010, in the W estem JudicialDistrict of Virginia,

ANTONIO JOHNSON,ataplace within the specialmaritime and territorialjurisdiction ofthe
United States,namelytheUnited StatesPenitentiary -LeeCounty,on land acquired fortheuseof

the United States, willfully, deliberately, m aliciously and with prem editation and m alice

aforethought,didtmlawfully killErnestBennettby stabbing him .

       2.Al1inviolationofTitle 18,United StatesCode,jj7and 1111(a).
A truebillthis        day ofM arch,2012.                         -




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                                      /&ê FOREPERSON

Unitedstatesv.AntonioJohnson                       1
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TIMOTIW J.H PHY
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